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                  10                           UNITED STATES DISTRICT COURT
                  11                      CENTRAL DISTRICT OF CALIFORNIA
                  12                                EASTERN DIVISION
                  13 CARTER BRYANT, an individual,           CASE NO. CV 04-9049 SGL (RNBx)
                  14              Plaintiff,                 Consolidated with
                                                             Case No. CV 04-09039
                  15        vs.                              Case No. CV 05-02727
                  16 MATTEL, INC., a Delaware                Hon. Stephen G. Larson
                     corporation,
                  17                                         [PUBLIC REDACTED]
                                  Defendant.                 DECLARATION OF JON COREY IN
                  18                                         SUPPORT OF MATTEL, INC.'S
                                                             MOTIONS IN LIMINE NOS. 1-14
                  19 AND CONSOLIDATED ACTIONS
                                                             Date: May 21, 2008
                  20                                         Time: 1:00 p.m.
                                                             Place: Courtroom 1
                  21
                                                             Phase 1:
                  22                                         Pre-Trial Conference: May 5, 2008
                                                             Trial Date:           May 27, 2008
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                                                                                  COREY DECLARATION
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